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 1   Mark E. Ferrario (Nevada Bar No. 1625)
     GREENBERG TRAURIG, LLP
 2   10845 Griffith Peak Drive, Suite 600
     Las Vegas, NV 89135
 3
     Telephone: (702) 938-6870
 4   Facsimile: (702) 792-9002
     Email: ferrariom@gtlaw.com
 5
     Casie D. Collignon (pro hac vice)
 6   Matthew D. Pearson (pro hac vice forthcoming)
     BAKER & HOSTETLER LLP
 7
     1801 California Street, Suite 4400
 8   Denver, Colorado 80202
     Telephone:     (303) 861-0600
 9   Facsimile:     (303) 861-7805
10   Attorneys for Defendant
11
                                 UNITED STATES DISTRICT COURT
12
                                          DISTRICT OF NEVADA
13

14    JENNIFER MIRANDA and PATRICIA                    Case No.: 20-cv-00534-JAD-DJA
      TERRY, on behalf of themselves and all
15
      others similarly situated,
16                                                        STIPULATION AND [PROPOSED]
                            Plaintiffs,                   ORDER EXTENDING TIME FOR
17                                                         DEFENDANT TO RESPOND TO
                                                           PLAINTIFFS' FIRST AMENDED
                            v.                                 COMPLAINT [ECF 24]
18
      GOLDEN ENTERTAINMENT (NV), INC.,                               (Second Request)
19

20                          Defendant.

21

22          Pursuant to Local Rules IA 6-1 and 7-1, Defendant Golden Entertainment (NV), Inc.

23   (“Defendant”) and Plaintiffs Jennifer Miranda and Patricia Terry (collectively, “Plaintiffs”),

24   hereby stipulate, agree, and respectfully request that the Court extend the deadline for Defendant

25   to answer or otherwise respond to Plaintiffs’ First Amended Complaint from July 30, 2020 to

26   August 13, 2020. Good cause exists to grant this Stipulation based on the following facts:

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 1            1.        On March 16, 2020, Plaintiffs filed their Class Action Complaint and Jury Demand

 2   (“Complaint”) in the United States District Court for the District of Nevada. [ECF 1.]

 3            2.        On April 7, 2020, the parties filed a Stipulation and Order Extending Time for

 4   Defendant to Respond to Plaintiffs’ Complaint to allow counsel for Defendant sufficient time to

 5   investigate the case before responding to the Complaint. [ECF 10.]

 6            3.        On April 8, 2020, the Court granted the parties’ Stipulation, continuing

 7   Defendants’ responsive pleading deadline to May 8, 2020. [ECF 11.]

 8            4.        Thereafter, the parties engaged in settlement negotiations and, to allow the parties

 9   sufficient time to engage in those discussions, continued Defendant’s responsive pleading to June

10   18, 2020. [See ECF 12, 16-20.]

11            5.        On June 18, 2020, Defendant filed its Motion to Dismiss Plaintiffs’ Complaint.

12   [ECF 21.]

13            6.        On July 2, 2020, Plaintiffs filed their First Amended Complaint. [ECF 24.] The

14   First Amended Complaint included additional allegations and causes of action. [See id.]

15            7.        After Plaintiffs filed their First Amended Complaint, the parties resumed

16   settlement negotiations, taking into consideration Plaintiffs’ additional allegations.

17            8.        Defendant’s responsive pleading deadline is currently July 30, 2020. [ECF 27.]

18            9.        The parties need one week to further consider current settlement. If the parties do

19   not decide to settle, Defendant will need one week to draft and file its Motion to Dismiss.

20            10.       Therefore, Defendant has requested, and Plaintiffs have agreed to, a two-week

21   extension of Defendant’s deadline to respond to Plaintiffs’ First Amended Complaint to allow the

22   Parties sufficient time to (1) fully evaluate the Parties latest settlement negotiations and (2) if there

23   is no settlement, allow Defendant to draft and file its Motion to Dismiss.

24            11.       There will be no further extensions requested by Defendant. Either the parties will

25   resolve the case and file with the court a Notice of Settlement, including any related briefing

26   schedule, or Defendant will file its Motion to Dismiss on August 13, 2020.

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 1            12.       This request is not for the purposes of delay. This is the second request by the

 2   parties to extend Defendant’s deadline to respond to Plaintiffs’ First Amended Complaint.

 3    DATED this 30th day of July, 2020                  DATED this 30th day of July, 2020

 4    WOLF, RIFKIN, SHAPIRO, SCHULMAN                    GREENBERG TRAURIG, LLP
      & RABKIN, LLP
 5

 6   By: /s/ Don Springmeyer                             By: /s/ Mark E. Ferrario
          Don Springmeyer (SBN 1021)                         Mark E. Ferrario (Nevada Bar No. 1625)
 7        Daniel Bravo (SBN 13078)                           10845 Griffith Peak Drive, Suite 600
          A. Jill Guingcangco (SBN 14717)                    Las Vegas, NV 89135
 8        3556 E. Russell Road, 2nd Floor                    Tel: (702) 938-6870
          Las Vegas, NV 89120                                Fax: (702) 792-9002
 9
          Tel: (702) 341-5200                                ferrariom@gtlaw.com
10        Fax: (702) 341-5300
          dspringermeyer@wrslawyers.com                      Casie D. Collignon (pro hac vice)
11        dbravo@wrslawyers.com                              Matthew D. Pearson
          ajg@wrslawyers.com                                 (pro hac vice forthcoming)
12                                                           BAKER & HOSTETLER LLP
13         Max S. Roberts (Pro Hac Vice)                     1801 California Street, Suite 4400
           BURSOR & FISHER, P.A.                             Denver, Colorado 80202
14         888 Seventh Avenue, Third Floor
           New York, NY 10019
15         Tel: (646) 837-7150                               Attorneys for Defendant
           Fax: (212) 989-9163
16

17            Attorneys for Plaintiffs

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19
                                                     IT IS SO ORDERED:
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21

22                                                   UNITED
                                                     Daniel J. STATES
                                                               Albregts DISTRICT JUDGE
23                                                   United States Magistrate Judge
                                                     DATED:
24                                                   DATED: July 31, 2020
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